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14                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
15                                   OAKLAND DIVISION

16

17   In re Google RTB Consumer Privacy          Case No. 4:21-cv-02155-YGR-VKD
     Litigation
18                                              NOTICE OF WITHDRAWAL OF
                                                ATTORNEY JOHN J. FRAWLEY
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                                                                Case No. 4:21-cv-02155-YGR-VKD
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                                                   Notice of Withdrawal of Attorney John J. Frawley
      Case 4:21-cv-02155-YGR Document 539 Filed 06/08/23 Page 2 of 3




 1        TO THE CLERK OF THE COURT, AND TO ALL PARTIES AND THEIR

 2   ATTORNEYS OF RECORD:

 3        PLEASE TAKE NOTICE that John J. Frawley is no longer associated with DiCello Levitt

 4   LLP and no longer represents Plaintiffs in this matter. Please remove Mr. Frawley from the docket

 5   as counsel of record. Other attorneys from DiCello Levitt LLP will continue to represent Plaintiffs,

 6   including Adam J. Levitt, Amy E. Keller, David A. Straite, Corban S. Rhodes, and James A.

 7   Ulwick.

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 9 Dated: June 8, 2023                                    DICELLO LEVITT LLP
                                                          By:  /s/ David A. Straite
10                                                             David A. Straite
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                                                               Notice of Withdrawal of Attorney John J. Frawley
       Case 4:21-cv-02155-YGR Document 539 Filed 06/08/23 Page 3 of 3




 1                                    CERTIFICATE OF SERVICE

 2          I, David A. Straite, hereby certify that on June 8, 2023, I caused to be electronically filed the

 3 foregoing document with the Clerk of the Court using the ECF system which sends a notification of

 4 such filing to all counsel of record.

 5
                                                                   /s/ David A. Straite
 6                                                                     David A. Straite
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